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 Exhibit E
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                                 DECLARATION OF JUANITA GOEBERTUS,
                           DIRECTOR, AMERICAS DIVISION, HUMAN RIGHTS WATCH

                     I, Juanita Goebertus, declare the following under 28 U.S.C. § 1746, and state that

            under penalty of perjury the following is true and correct to the best of my knowledge and belief:

                1. I am the Director of the Americas Division of Human Rights Watch and have worked

                     with the organization since 2022. I hold BAs in Law and Political Science from the

                     Universidad de los Andes (Colombia) and an LLM from Harvard Law School. I oversee

                     Human Rights Watch’s work on El Salvador and have traveled to the country several

                     times, most recently in 2024. I provide this declaration based on my personal knowledge

                     and experience.

                2. Individuals deported pursuant to the 1789 Alien Enemies Act have been sent to the Center

                     for Terrorism Confinement, the Centro de Confinamiento del Terrorismo (CECOT) in

                     Tecoluca, El Salvador. The prison was first announced for a capacity of 20,000 detainees.

                     The Salvadoran government later doubled its reported capacity, to 40,000. As Human

                     Rights Watch explained to the UN Human Rights Committee in July 2024, the population

                     size raises concerns that prison authorities will not be able to provide individualized

                     treatment to detainees, thereby contravening the UN Standard Minimum Rules for the

                     Treatment of Prisoners.

                3. People held in CECOT, as well as in other prisons in El Salvador, are denied

                     communication with their relatives and lawyers, and only appear before courts in online

                     hearings, often in groups of several hundred detainees at the same time. The Salvadoran

                     government has described people held in CECOT as “terrorists,” and has said that they

                     “will never leave.” Human Rights Watch is not aware of any detainees who have been

                     released from that prison. The government of El Salvador denies human rights groups
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                     access to its prisons and has only allowed journalists and social media influencers to visit

                     CECOT under highly controlled circumstances. In videos produced during these visits,

                     Salvadoran authorities are seen saying that prisoners only “leave the cell for 30 minutes a

                     day” and that some are held in solitary confinement cells, which are completely dark.

                4. While CECOT is likely to have more modern technology and infrastructure than other

                     prisons in El Salvador, I understand the mistreatment of detainees there to be in large part

                     similar to what Human Rights Watch has documented in other prisons in El Salvador,

                     including Izalco, La Esperanza (Mariona) and Santa Ana prisons. This includes cases of

                     torture, ill-treatment, incommunicado detention, severe violations of due process and

                     inhumane conditions, such as lack of access to adequate healthcare and food.

                5. Prison conditions in El Salvador should be understood within the context of the country’s

                     three-year-long state of emergency, which has suspended constitutional due process

                     rights. Since the state of emergency was instituted in March 2022, security forces report

                     detaining 85,000 people (the equivalent of 1.4% of the country’s population). Although

                     the government has denied Human Rights Watch information on the number of detainees

                     it holds and its prison capacity, Human Rights Watch estimates based on official data that

                     there are 109,000 people held in prisons with an official capacity for 70,000. Since the

                     state of emergency was instituted, over 350 people have died in El Salvador’s prisons

                     according to Salvadoran human rights groups, including the organization Cristosal, which

                     jointly authored our December 7, 2022 report on El Salvador’s prisons titled, “We Can

                     Arrest Anyone We Want” (hereinafter “We Can Arrest Anyone”). 1



            1
             Human Rights Watch, “We Can Arrest Anyone We Want”: Widespread Human Rights Violations Under El
            Salvador’s “State of Emergency”, WWW.HRW.ORG, Dec. 7, 2022, https://www hrw.org/report/2022/12/07/we-can-
            arrest-anyone-we-want/widespread-human-rights-violations-under-el#3683 (last visited Mar. 19, 2025).
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                6. In July 2024, Human Rights Watch published a report on abuses committed against

                     children during the state of emergency, titled “Your Child Does Not Exist Here.” Over

                     3,300 children have been detained, many without any ties to gang activity or criminal

                     organizations. Human Rights Watch documented 66 cases of children subjected to

                     torture, ill-treatment and appalling conditions, including at times extreme overcrowding,

                     unhygienic conditions, and inadequate access to food and medical care while in custody.

                     In February, the Legislative Assembly approved a law ordering the transfer of children

                     detained for organized crime offenses to the country’s adult prison system, exposing them

                     to a heightened risk of abuse and violating international juvenile justice standards.

                7. For “We Can Arrest Anyone,” and in “Your Child Does Not Exist Here,” Human Rights

                     Watch has interviewed more than 30 people released from El Salvador’s prisons,

                     including children, and dozens of people who have relatives in jail. 2 These interviews

                     were conducted in person in several states in El Salvador or by telephone and

                     corroborated by additional research and media reports.

                8. One of the people we spoke with was an 18-year-old construction worker who said that

                     police beat prison newcomers with batons for an hour. He said that when he denied being

                     a gang member, they sent him to a dark basement cell with 320 detainees, where prison

                     guards and other detainees beat him every day. On one occasion, one guard beat him so

                     severely that it broke a rib.




            2
             Human Rights Watch, “Your Child Does Not Exist Here”: Human Rights Abuses Against Children Under El
            Salvador’s “State of Emergency” , WWW.HRW.ORG, Jul. 16, 2024, https://www hrw.org/report/2024/07/16/your-
            child-does-not-exist-here/human-rights-abuses-against-children-under-el (last visited Mar. 19, 2025).
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                9. The construction worker said the cell he was imprisoned in was so crowded that detainees

                     had to sleep on the floor or standing, a description often repeated by people who have

                     been imprisoned in El Salvador.

                10. Another detainee we interviewed was held for two days in a police lock-up with capacity

                     for 25 people, but he said that when he arrived, there were over 75 prisoners. He slept on

                     the floor next to “the bathroom,” a hole in the ground that smelled “terrible.” He was sent

                     in a group of other prisoners to Izalco prison on the third day, where they were ordered

                     the group to take off their clothes. They were forced to kneel on the ground naked

                     looking downwards for four hours in front of the prison’s gate. Guards took the group to

                     a room with five barrels full of water with ice, he said. Fifteen guards forced him and

                     others to go into the barrels for around two hours in total, as they questioned them. The

                     detainee was forced into a barrel “around 30 times,” and was kept there for about a

                     minute each time. Guards forced his head under water so he could not breathe. “I felt I

                     was drowning,” he said. Guards repeatedly insulted them, calling them “dogs” and

                     “scum” and saying they would “pay for what [they] had done.”

                11. A third detainee held in prison in June 2022 described being sent to what he described as

                     a “punishment cell.” He said officers moved him and others there to “make room for

                     other detainees.” The new cell was constantly dark, detainees had to sleep standing due to

                     overcrowding, and there was no regular access to drinking water.

                12. For “We Can Arrest Anyone,” Human Rights Watch and Cristosal gathered evidence of

                     over 240 cases of people detained in prisons in El Salvador with underlying health

                     conditions, including diabetes, recent history of stroke, and meningitis. Former detainees

                     often describe filthy and disease-ridden prisons. Doctors who visited detention sites told
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                     us that tuberculosis, fungal infections, scabies, severe malnutrition and chronic digestive

                     issues were common.

                13. Out of the estimated 350 detainees who have died in El Salvador’s prisons, we

                     documented 11 of these cases in detail in “We Can Arrest Anyone”, based on interviews

                     with victims’ relatives, medical records, analysis by forensic experts, and other evidence.

                14. In one case, a person who died in custody was buried in a mass grave, without the

                     family's knowledge. This practice could amount to an enforced disappearance if

                     authorities intentionally concealed the fate or whereabouts of the detainee.

                15. In at least two other cases, officials appear to have failed to provide detainees the daily

                     medication they required to manage underlying health conditions such as diabetes.

                16. In at least four of the eleven cases, photographs of the bodies show bruises. Members of

                     the Independent Forensic Expert Group (IFEG) of the International Rehabilitation

                     Council for Torture Victims (IRCT), who reviewed the photos and other evidence in two

                     of the cases, told Human Rights Watch and Cristosal that the deaths were “suspicious”

                     given that the bodies “present multiple lesions that show trauma that could have been

                     caused by torture or ill-treatment that might have contributed to their deaths while in

                     custody.”

                17. In a separate Human Rights Watch report from February 2020, titled “Deported to

                     Danger,” Human Rights Watch investigated and reported on the conditions in Salvadoran

                     prisons experienced by Salvadoran nationals deported by the United States. 3 In

                     interviews with deportees and their relatives or friends, we collected accounts of three



            3
             Human Rights Watch, Deported to Danger: United States Deportation Policies Expose Salvadorans to Death and
            Abuse, WWW.HRW.ORG, Feb. 5, 2020, https://www.hrw.org/report/2020/02/05/deported-danger/united-states-
            deportation-policies-expose-salvadorans-death-and (last visited Mar. 19, 2025).
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                     male deportees from the United States who said they were beaten by police or soldiers

                     during arrest, followed by beatings during their time in custody, which lasted between

                     three days to over a year. During their time in prison, two of these individuals reported

                     being kicked in the face and testicles. A third man described being kicked by guards in

                     his neck and abdomen, after which he sustained injuries requiring an operation for a

                     ruptured pancreas and spleen, month-long hospitalization, and 60 days of post-release

                     treatment.



                Executed on this 19th day of March, 2025 in Villa de Leyva, Colombia.




                                                                   _ __________________________________

                                                                                       JUANITA GOEBERTUS
